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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON OVERSIGHT AND             )
GOVERNMENT REFORM,                     )
UNITED STATES HOUSE                    )
OF REPRESENTATIVES,                    )
                                       )
                 Plaintiff,            )
                                       )                     Case No. 1:12-cv-1332 (ABJ)
                 v.                    )
                                       )
ERIC H. HOLDER, JR.,                   )
in his official capacity as            )
Attorney General of the United States, )
                                       )
                 Defendant.            )
____________________________________)

                         NOTICE OF FILING OF PRIVILEGE LIST

       Pursuant to the Court’s December 3, 2014 and December 9, 2014 Minute Orders, the

Department of Justice (“Department”) hereby gives notice that it filed the privilege list in the

above-captioned matter in Excel format on one disk, hand delivered to the Clerk of Court, with a

courtesy copy to Judge Amy Berman Jackson’s chambers, on December 10, 2014. The

Department provided a prior version of the privilege list to the Committee on Oversight and

Government Reform, U.S. House of Representatives (“Committee”) on November 4, 2014.

Following additional review of the material at issue, the Department provided to the Committee

on December 4, 2014 a copy of the updated version of the privilege list that has now been filed

with the Court.

Dated: December 10, 2014                      Respectfully submitted,

                                              JOYCE R. BRANDA
                                              Acting Assistant Attorney General
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                            Assistant Branch Director

                             /s/ Bradley P. Humphreys
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 10, 2014, I caused a true and correct copy of the

foregoing to be served on plaintiff’s counsel electronically by means of the Court’s ECF system.


                                                     /s/ Bradley P. Humphreys
                                                    BRADLEY P. HUMPHREYS
